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                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

United States of America,                     )               Criminal No. 2:15-472-RMG
                                              )
       v.                                     )             MEMORANDUM OPINION
                                              )
Dylann Storm Roof.                            )


       This matter is before the Court on Standby Counsel's second motion for a determination

of Defendant's competency to stand trial (Dkt. No. 832). The Court set a hearing on the motion

for January 2, 2017, and gave public notice that it was considering closing that hearing to the

public. The following day, objections to closure were filed on behalf of The State, The Post &

Courier, WCSC television, the Associated Press, WLTX television, and National Public Radio

(Dkt. No. 838). The Court heard oral argument on the objections on January 2, 2017, and, for the

reasons set forth below, determined that it was necessary to close the competency hearing to the

pUblic. This Opinion memorializes the Court's reasons for that determination.

I.     Legal Standard

       The public has a qualified First Amendment right of access to a competency hearing in a

criminal matter. Mental competency hearings have historically been open to the public absent

specific findings offact to support closure, and "[a]llowing public access to a competency hearing

permits the public to view and read about the criminal justice process and ensure that the

proceedings are conducted in an open, objective, and fair manner." See United States v. Guerrero,

693 F.3d 990,1001 (9th Cir. 2012); United States v. Sablan, No. 1:08-CR-00259-PMP, 2011 WL

5299439, at *1 (E.D. CaL Nov. 2, 2011); United States v. Curran, No. CR-06-227-PHX-EHC,

2006 WL 1159855, at *2 (D. Ariz. May 2, 2006); see also In re Charlotte Observer (Div. ofKnight

Pub. Co.), 882 F.2d 850, 852 (4th Cir. 1989) ("[T]he public's right to access to criminal trials and



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pretrial proceedings is protected by the first amendment."). But the First Amendment right of

access to court proceedings is a qualified right that yields to "higher interests" in certain

circumstances. Am. Civil Liberties Union v. Holder, 673 F.3d 245, 252 (4th Cir. 2011); In re S.c.

Press Ass'n, 946 F. 2d 1037, 1041 (4th Cir. 1991). Those "higher interests" include the Sixth

Amendment right to a fair trial. In re     s.c.   Press Ass'n, 946 F.2d at 1043. Before closing a

proceeding to protect a defendant's right to a fair trial, the Court must find that "(1) there is a

substantial probability that the defendant's right to a fair trial will be prejudiced by pUblicity; (2)

there is a substantial probability that closure would prevent that prejudice; and (3) reasonable

alternatives to closure cannot adequately protect the defendant's fair trial rights." See In re State­

Record Co., Inc., 917 F.2d 124, 127 (4th Cir. 1990); see also Press-Enter. v. Super. Ct. of Cal. ,

478 U.S. 1, 13-14 (1986).

II.    Discussion

       This was an unusually challenging moment in this protracted legal proceeding. After the

jury found Defendant guilty on December 15, 2016, the Court allowed the jury to go home for the

holidays with an admonition to avoid all press coverage and social media access. Standby Counsel

thereafter filed-five days before the jury was due to retufll-a second motion challenging

Defendant's competency. Standby Counsel's motion was based in large part on their concerns

regarding Defendant's intended trial strategy for the sentencing proceeding. The Court held a

hearing to address this issue on January 2, 2017. Information not previously disclosed to the jury

and which will never be disclosed to the jury was heard at the competency hearing. In particular,

the Court heard information about the pro se Defendant's intended trial strategy. Holding a public

hearing on the logic of a capital defendant's intended trial strategy the day before his sentencing

proceedings were to commence potentially would have been grossly prejudicial to his Sixth

Amendment right to a fair trial. It also would have been unprecedented.


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        Defendant has minimal privacy rights regarding disclosure of competency evidence, so

most, if not all, information from the January 2, 2017 hearing will be publicly released. The only

question was when. Deciding that question required difficult balancing of Defendant's fair trial

rights, the public's First Amendment rights, and the need to protect jurors from unnecessary stress

and disruption. Evidence presented at the competency hearing likely would have been be intensely

covered and distributed in the local community. Coverage of the case in this District has been

intense and it has been magnified by the new phenomenon of social media. This increases

substantially the risk of inadvertent exposure from simply living and working in the community,

even when the jury follows the Court's admonition to avoid the news coverage. So while the Court

shared the media objectors' confidence that the jury would follow the Court's instructions to stay

away from newspapers and other media (see Dkt. No. 839 at 1-2), there remained a substantial

probability of inadvertent disclosure to the jury of information offered at the competency hearing.

There was, therefore, a substantial probability that Defendant's fair trial rights would have been

prejudiced by an open competency hearing-a probability greatly increased by the fact that

Defendant's intended trial strategy was a subject of the hearing. Cj In re State-Record Co., Inc.,

917 at 127 (closure is permissible if, inter alia, "there is a substantial probability that the

defendant's right to a fair trial will be prejudiced by publicity"). Closing the hearing will likely

prevent disclosure and thus prevent that potential prejudice. Cj id (closure is permissible if, inter

alia, there is a substantial probability that closure would prevent that prejudice).

       The only alternative to a closed competency hearing was to delay the hearing until Tuesday,

January 3, 2017 and to sequester the jury from Tuesday morning until the end of trial.

Sequestration places extraordinary stresses on the jury. These jurors have already completed a

lengthy questionnaire in this courthouse in September, participated in individual voir dire in mid­




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December, served through the guilt phase of this case, and they will return for an undetermined

time for the sentencing phase. The evidence in this case is difficult and highly stressful to consider.

Adding sequestration would have additionally burdened jurors with the requirement that they

abandon their responsibilities to their families during their service. Distracting the jurors with an

avoidable disruption of their domestic affairs while simultaneously asking them to decide whether

another person should live or die would not serve the ends ofjustice.

        Under these circumstances, no reasonable alternative except closure of the hearing would

have prevented prejudice to Defendant's fair trial rights at this extraordinary and sensitive moment.

Cf id. (closure is permissible if, inter alia, reasonable alternatives to closure cannot adequately

protect the defendant's fair trial rights). Disclosure is not prohibited but only briefly delayed-a

narrowly tailored restriction necessary to protect compelling fair trial rights, an option far superior

to jury sequestration, and the only reasonable choice under these circumstances.

III.    Conclusion

        For the foregoing reasons, the Court ordered the competency hearing on January 2,2017

to be closed to the public.




                                                       Richard Mark e el
                                                       United States Dist ict Court Judge

January 2,2017
Charleston, South Carolina




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